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Trial Ex. No.            Bates No.              Date                                 Subject/Description                              Expert/Report
TREX-00001                                     9/8/10     BP Deepwater Horizon Accident Investigation Report                             Barnhill
TREX-00002                                     9/8/10     BP Accident Investigation Report Appendices - Case No: 210325                  Barnhill

                BP-HZN-CEC020334 -
TREX-00004      BP-HZN-CEC020340                          Interview with Don Vidrine                                                     Barnhill
                BP-HZN-MBI00021304 -
TREX-00007      BP-HZN-MBI00021347            4/27/10     Brian Morel Interview Notes                                                    Barnhill
                BP-HZN-2179MDL00373833 -                  GP 10-35 - Well Operations: Group Practice - BP Group Engineering
TREX-00094      BP-HZN-2179MDL00373852                    Technical Practices                                                            Barnhill
                BP-HZN-2179MDL00353757 -                  DWGOM - GP 10-45-1 - Working With Pressure (Supersedes GP 10-45) -
TREX-00095      BP-HZN-2179MDL00353773        11/18/09    DWGOM: Site Technical Practices                                                Barnhill
                BP-HZN-BLY00094096 -                      Boots/Coots - Incident Investigation of Well MC252#1 - Review of 9-7/8" x
TREX-00102      BP-HZN-BLY00094143                        7" Casing Negative Test                                                        Barnhill
                                                          E-Mail - From: Hafle, Mark E Sent: Wed Apr 14 23:09:46 2010 - Subject:
TREX-00126      CON67                         4/14/10     Re: Macondo APB                                                                Barnhill
                                                          GP 10-60 - Zonal Isolations Requirements During Drilling Operations and
                BP-HZN-2179MDL00269659 -                  Well Abandonment and Suspension: Group Practice - BP Group
TREX-00184      BP-HZN-2179MDL00269673        4/16/08     Engineering Technical Practices                                                Barnhill
                BP-HZN-BLY00107700 -                      Macondo #1 - 9 7/8"X 7" Production Casing Design Report - For: Brian
TREX-00186      BP-HZN-BLY00107732            4/18/10     Morel                                                                          Barnhill
                BP-HZN-BLY00104243 -
TREX-00195      BP-HZN-BLY00104239            5/12/10     Handwritten Notes - John Guide Interview                                       Barnhill
                BP-HZN-2179MDL00408005 -                  GP 10-10 - Well Control: Group Practice - BP Group Engineering Technical
TREX-00215      BP-HZN-2179MDL00408026                    Practices                                                                      Barnhill
                BP-HZN-BLY00111497 -
TREX-00284      BP-HZN-BLY00111507            7/29/10     BP Incident Investigation Team - Notes of Interview with Greg Walz             Barnhill
                                                          E-Mail - From: Morel, Brian P Sent: Sat Apr 17 19:27:09 2010 - Subject:
TREX-00287      BP-HZN-2179MDL00315248        4/17/10     FW: Lab Tests                                                                  Barnhill
                BP-HZN-BLY00103032 -
TREX-00296      BP-HZN-BLY00103038             7/8/10     Interview with Mark Hafle                                                      Barnhill
                BP-HZN-BLY00061629 -
TREX-00358      BP-HZN-BLY00061643            5/10/10     Jim McKay Handwritten Notes - Brian Morel Interview                            Barnhill
                BP-HZN-BLY00125436 -
TREX-00506      BP-HZN-BLY00125446            6/24/10     Interview with David Sims                                                      Barnhill
                BP-HZN-BLY00061692 -
TREX-00526-A    BP-HZN-BLY00061695            8/31/10     Interview with Ronnie Sepulvado                                                Barnhill



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Trial Ex. No.             Bates No.            Date                                 Subject/Description                             Expert/Report
                                                         E-Mail - From: Morel, Brian P Sent: Mon Apr 12 12:21:30 2010 - Subject:
TREX-00529      BP-HZN-MBI00125959            4/12/10    RE: Procedures                                                                Barnhill
                BP-HZN-2179MDL00041229 -                 E-Mail - From: Sepulvado, Murray R Sent: Tue Apr 13 20:32:26 2010 -
TREX-00533      BP-HZN-2179MDL00041230        4/13/10    Subject: RE: Rev 1 Procedure                                                  Barnhill
                                                         E-Mail - From: Morel, Brian P Sent: Wed Apr 14 19:24:50 2010 - Subject:
TREX-00537      BP-HZN-MBI00126982            4/14/10    RE: Forward Ops                                                               Barnhill
                BP-HZN-CEC022433 -
                BPHZN-CEC022434
                BP-HZN-2179MDL00405919-                  E-Mail - From: Guide, John Sent: Fri Apr 16 18:27:43 2010 - Subject: FW:
TREX-00543      BP-HZN-2179MDL00405920        4/16/10    Additional Centralizers                                                       Barnhill
                BP-HZN-2179MDL00249965 -                 E-Mail - From: Morel, Brian P Sent: Fri Apr 16 04:38:03 2010 - Subject:
TREX-00545      BP-HZN-2179MDL00249987        4/16/10    Updated Procedure                                                             Barnhill
                                                         E-Mail - From: Sepulvado, Ronald W Sent: Fri Apr 16 12:51:55 2010 -
TREX-00546      BP-HZN-MBI00171869            4/16/10    Subject: Relief Notes                                                         Barnhill
                BP-HZN-2179MDL00330768 -
TREX-00596      BP-HZN-2179MDL00331163        3/31/09    Well Control Handbook                                                         Barnhill
                BP-HZN-IIT-0002370 -
                BP-HZN-IIT-0002741
                BP-HZN-MBI00131953 -                     Deepwater Horizon Emergency Response Manual -
TREX-00597      BP-HZN-MBI00132325                       Volume 1 of 2                                                                 Barnhill
                TRN-USCG-MMS-00043810 -
                TRN-USCG-MMS-00043818
                TRN-MDL-00286767-
TREX-00667      TRN-MDL-00287075              3/31/09    Well Control Handbook (Revision Date: March 31, 2009)                         Barnhill
                                                         E-Mail - From: Guide, John Sent: Thu Apr 15 17:23:50 2010 - Subject: RE:
TREX-00679      BP-HZN-2179MDL00312131        4/15/10    Stuff for Paul (TOI)                                                          Barnhill
                HAL-CG0000515 -
TREX-00718      HAL-CG0000527                            Chaisson Tally Book                                                           Barnhill
                                                         E-Mail - From: Morel, Brian P Sent: Friday, April 16, 2010 5:05
TREX-00733      HAL_0010815 - HAL_0010818     4/16/10    PM - Subject: Cement Procedure                                                Barnhill
                BP-HZN-CEC011406 -
TREX-00742      BP-HZN-CEC011419              4/20/10    9 7/8" x 7" Foamed Production Casing Design Post Job Report                   Barnhill
                BP-HZN-MBI00195280 -                     Group Defined Operating Practice - Assessment, Prioritization and
TREX-00765      BP-HZN-MBI00195301            1/30/09    Management of Risk                                                            Barnhill




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Trial Ex. No.             Bates No.            Date                                  Subject/Description                                 Expert/Report
                                                          Computer Screen Snapshot - D. Sims' reply E-mail to J. Guide’s E-mail
                                                          Complaining About the Engineering/Operations Confusion, Morel’s
TREX-00795      BP-HZN-BLY00097031-32         4/17/10     Concerns, and Cement Spacer Issues                                                Barnhill
                                                          National Commission on the BP Deepwater Horizon Oil Spill and Offshore
TREX-00806      HAL_0502206 - HAL_05022062                Drilling Cement Testing Results                                                   Barnhill
TREX-00820                                    4/20/10     Deepwater Horizon IADC Report                                                     Barnhill
TREX-00824                                    4/28/10     Transcription of Shane Albers Interview Notes                                     Barnhill
                BP-HZN-MBI00076083 -                      E-Mail - From: Morel, Brian P Sent: Thu Nov 12 21:33:45 2009 - Subject:
TREX-00831      BP-HZN-MBI00076085            11/12/09    FW: Drill Collars: Type and Quantity?                                             Barnhill
                BP-HZN-MBI00199222 -                      BP-Macondo Lead Impression Tool (LIT) and Lock Down Sleeve (LDS)
TREX-00834      BPHZN-MBI00199253             4/13/10     Running Procedure                                                                 Barnhill
                BP-HZN-BLY00125462 -
TREX-00907      BP-HZN-BLY00125469             7/7/10     BP Investigation Team: Notes of Interview with John Sprague                       Barnhill
                                                          MC 252 #1 - Macondo Production Casing & TA - Forward Planning
TREX-00908      BP-HZN-2179MDL00358546        4/14/10     Decision Tree                                                                     Barnhill
                                                          Chief Counsel's Report_2011: National Commission on the BP Deepwater
TREX-00986                                     2011       Horizon Oil Spill and Offshore Drilling                                           Barnhill
                                                          E-Mail - From: Morel, Brian P Sent: Sat Apr 17 19:27:09 2010 - Subject:
TREX-00987      BP-HZN-2179MDL00315248        4/17/10     FW: Lab Tests                                                                     Barnhill
                BP-HZN-MBI00117976;
                BP-HZN-MBI00118014 -                      E-Mail - From: Albertin, Martin L. Sent: Fri Apr 02 16:34:40 2010 - Subject:
TREX-01025      BP-HZN-MBI00118015             4/2/10     RE: Macondo 9-78 LOT FIT Worksheet.xls                                            Barnhill
                BP-HZN-2179MDL00016162 -
TREX-01026      BP-HZN-2179MDL00016226                    Drilling Fluids Program                                                           Barnhill

TREX-01035      BP-HZN-2179MDL00452101                    Daily and Total Drilling Fluid Discharges, Losses and Recovering Volumes          Barnhill
                                                          E-Mail - From: Maxie, Doyle W (MI SWACO) Sent: Tue Apr 20 15:34:08
TREX-01036      BP-HZN-MBI00129100            4/20/10     2010 - Subject: VH                                                                Barnhill
                                                          E-Mail - From: Albertin, Martin L. Sent: Mon Apr 05 20:10:44 2010 -
TREX-01095      BP-HZN-2179MDL00004909         4/5/10     Subject: RE: Macondo Sand pressures                                               Barnhill
                                                          E-Mail - From: Morel, Brian P Sent: Thu Mar 18 14:32:36 2010 - Subject:
TREX-01132      BP-HZN-MBI00112983            3/18/10     Macondo - Updated PP/FG and Mud Schedule                                          Barnhill
                                                          E-Mail - From: Hafle, Mark E Sent: Sun Mar 14 14:16:19 2010 - Subject:
TREX-01133      BP-HZN-MBI00110676            3/14/10     RE: FIT or LOT for Bypass                                                         Barnhill
                                                          E-Mail - From: Sims, David C Sent: Wed Mar 10 20:39:57 2010 - Subject:
TREX-01143      BP-HZN-2179MDL00852514                    RE: Macondo                                                                       Barnhill


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Trial Ex. No.             Bates No.            Date                                 Subject/Description                               Expert/Report
                                                         DNV - Final Report for United States Department of the Interior, Volume I
TREX-01164                                    3/20/11    (20 March 2011)                                                                 Barnhill
                                                         DNV - Final Report for United States Department of the Interior, Volume II
TREX-01165                                    3/20/11    (20 March 2011)                                                                 Barnhill
                BP-HZN-2179MDL00876814 -                 E-Mail - From: Bodek, Robert Sent: Fri May 07 00:32:18 2010 - Subject:
TREX-01210      BP-HZN-2179MDL00876816        5/7/10     Re: 14" MoC Document                                                            Barnhill

                BP-HZN-2179MDL00011120 -                 E-Mail - From: Paine, Kate (QuaDril Energy LT) Sent: Fri Mar 19 05:06:10
TREX-01234      BP-HZN-2179MDL00011122        3/19/10    2010 - Subject: FW: Lesson learned - Plan forward: Macondo                      Barnhill
                BP-HZN-MBI00126338 -                     E-Mail - From: Bodek, Robert Sent: Tue Apr 13 13:43:50 2010 - Subject:
TREX-01241      BP-HZN-MBI00126339            4/13/10    RE: Macondo TD                                                                  Barnhill
TREX-01339                                    3/15/10    Application for Bypass                                                          Barnhill
TREX-01344      BP-HZN-2179MDL00058858        4/3/10     DWH PPFG Report                                                                 Barnhill
                                                         E-Mail - From: Guide, John Sent: Thu Apr 15 02:48:20 2010 - Subject: Re:
TREX-01361      BP-HZN-MBI00253828            4/15/10    Meeting                                                                         Barnhill
                BP-HZN-MBI00222540 -
TREX-01364      BP-HZN-MBI00222541                       E-Mail - To: Guide, John - Subject: RE: call                                    Barnhill
                BP-HZN-BLY00163802 -
TREX-01376      BP-HZN-BLY00163902                       Drilling and Well Operations Practice - E&P Defined Operating Practice          Barnhill
                HAL_0010699 - HAL_0010720                Macondo #1 - 9 7/8" x 7" Production Casing Design Report - For: Brian
TREX-01388      HAL_0117330 - HAL_0117351     4/15/10    Morel                                                                           Barnhill
                BP-HZN-MBI00128655 -                     E-Mail - From: Morel, Brian P Sent: Sun Apr 18 13:42:56 2010 - Subject:
TREX-01390      BP-HZN-MBI00128657            4/18/10    RE: Lab Tests                                                                   Barnhill
                TRN-USCG-MMS-00043810 -
                TRN-USCG-MMS-00044205
                TRN-MDL-00286767 -
TREX-01454      TRN-MDL-00287162                         Transocean - Well Control Handbook                                              Barnhill
                BP-HZN-IIT-0009274 -
                BP-HZN-IIT-0009279
                BP-HZN-MBI00136940 -
TREX-01455      BP-HZN-MBI00136945            4/19/10    Deepwater Horizon IADC Report                                                   Barnhill
                BP-HZN-2179MDL00414144;
                BP-HZN-2179MDL00417995 -
                BP-HZN-2179MDL00417996;                  Sperry Sun - Surface Time Log E-Mail - From: Greg Navarette
                BP-HZN-2179MDL00418722 -                 Sent: Wed Apr 21 22:02:49 2010 - Subject: Various Logs and ASCII
TREX-01500      BP-HZN-2179MDL00418723        4/20/10    Data                                                                            Barnhill



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Trial Ex. No.             Bates No.            Date                                Subject/Description                                Expert/Report
                BP-HZN-2179MDL01016932 -                 GP 10-15 - Pore Pressure Prediction: Group Practice - BP Group
TREX-01513      BP-HZN-2179MDL01016950                   Engineering Technical Practices                                                 Barnhill
                BP-HZN-2179MDL00408027 -                 GP 10-16 - Pore Pressure Detection During Well Operations: Group
TREX-01514      BP-HZN-2179MDL00408043                   Practice - BP Group Engineering Technical Practices                             Barnhill
                BP-HZN-2179MDL00408286 -                 GP 10-75 - Simultaneous Operations: Group Practice - BP Group
TREX-01575      BP-HZN-2179MDL00408296        4/16/08    Engineering Technical Practices                                                 Barnhill
                BP-HZN-2179MDL00179308
TREX-01690      SLB-EC-000909                            Cost to complete CBL                                                            Barnhill
                                                         MC 252 #1 (Macondo): TD Forward Plan Review: Production Casing & TA
TREX-01692                                    4/15/11    Options                                                                         Barnhill
                BP-HZN-CEC022145 -                       MC 252 #1 (Macondo): TD Forward Plan Review: Production Casing & TA
TREX-01699      BP-HZN-CEC022153                         Options                                                                         Barnhill
                HAL_0011208 -                            Gagliano email to Cocales, Vidrine, Rig, Guide, Morel, Hafle, Walz,
TREX-01704      HAL_0011221                   4/18/10    etc. re: Updated Info for Prod Casing Job                                       Barnhill
                BP-HZN-2179MDL00643468 -                 GP 10-40 - Drilling Rig Audits and Rig Acceptance: Group Practice - BP
TREX-01721      BP-HZN-2179MDL00643481        6/11/08    Group Engineering Technical Practices                                           Barnhill
                BP-HZN-SNR00019040 -                     Galiano reply email to Morel, Hafle, Cocales, Walz re: Revised
TREX-01804      BP-HZN-SNR00019041            4/17/10    OptiCem Report with additional centralizers (4/17/10)                           Barnhill
                                                         E-Mail - From: Morel, Brian P Sent: Fri Apr 16 20:20:45 2010 -Subject: RE:
TREX-01809      BP-HZN-2179MDL00250582        4/16/10    Cement Procedure                                                                Barnhill
                BP-HZN-2179MDL00249967 -                 MC 252 #1 (Macondo): TD forward Plan Review: Production Casing & TA
TREX-01810      BP-HZN-2179MDL00249987        4/15/10    Options                                                                         Barnhill
                                                         E-Mail - From: Morel, Brian P Sent: Sun Apr 18 17:09:05 2010 - Subject:
TREX-01816      BP-HZN-BLY00070087            4/18/10    Re: Negative Test                                                               Barnhill
                APC-SHS2A-000001082 -
TREX-01919      APC-SHS2A-000001084           8/28/09    BP - Authorization for Expenditure (AFE) to Anadarko                            Barnhill
                BP-HZN-BLY00110007 -                     E-Mail - From: Reiter, Doris Sent: Sun Apr 11 14:26:40 2010 - Subject: RE:
TREX-01962      BP-HZN-BLY00110008            4/11/10    Macondo Update and Forward Plan Awareness                                       Barnhill
TREX-01967      BP-HZN-2179MDL00059632        4/5/10     DWH PPFG Report                                                                 Barnhill
                BP-HZN-2179MDL00272297 -                 E-Mail - From: Morel, Brian P Sent: Mon Apr 12 17:57:25 2010 - Subject:
TREX-01968      BP-HZN-2179MDL00272317                   Rev 1 Procedure                                                                 Barnhill
                BP-HZN-BLY00125127 -                     E-Mail - From: Morel, Brian P Sent: Mon May 24 17:30:01 2010 - Subject:
TREX-02010      BP-HZN-BLY00125135            5/24/10    FW: Updated Info for Prod Casing job                                            Barnhill
TREX-02033                                    6/11/10    Telephone Interview of Jesse Marc Gagliano                                      Barnhill




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Trial Ex. No.             Bates No.            Date                                Subject/Description                                Expert/Report
                HAL_0010336 -                            Macondo #1 - 9 7/8" x 7" Production Casing Design Report - For: Brian
TREX-02040      HAL_0010354                   4/14/10    Morel                                                                           Barnhill

                BP-HZN-2179MDL00011184 -                 E-Mail - From: Hafle, Mark E Sent: Fri Apr 16 14:30:35 2010 - Subject: RE:
TREX-02042      BP-HZN-2179MDL00011185        4/16/10    Production Casing and Design Proposal & OptiCem Report                          Barnhill
                BP-HZN-BLY00130264 -
TREX-02158      BP-HZN-BLY00130268            4/20/10    Interview of Lee Lambert - 10am April 29, 2010 (with Handwritten Notes)         Barnhill
                BP-HZN-2179MDL01340115 -
TREX-02200      BP-HZN-2179MDL01340134        8/4/04     bp - NAX - DW Gulf of Mexico Deepwater Well Control Guidelines                  Barnhill
                                                         E-Mail - From: Morel, Brian P Sent: Tue Apr 13 12:13:29 2010 - Subject:
TREX-02242      BP-HZN-2179MDL00045111        4/13/10    FW: Macondo                                                                     Barnhill
                BP-HZN-2179MDL00368642 -
TREX-02386      BP-HZN-2179MDL00368768                   BP GoM Deepwater SPU - Well Control Response Guide                              Barnhill
                BP-HZN-2179MDL00335948 -
TREX-02389      BP-HZN-2179MDL00336409                   Well Control Manual - December 2000 Issue 3                                     Barnhill
                BP-HZN-2179MDL00336410 -
TREX-02390      BP-HZN-2179MDL00336757                   Well Control Manual - December 2000 Issue 3                                     Barnhill
                BP-HZN-2179MDL00336758 -
TREX-02391      BP-HZN-2179MDL00336889                   Well Control Manual - December 2000 Issue 3                                     Barnhill
                HAL_0010648 -                            E-Mail - From: Morel, Brian P Sent: Thursday, April 15, 2010 4:00 PM
TREX-02580      HAL_0010650                   4/15/10    Subject: RE: OptiCem Report                                                     Barnhill
                BP-HZN-MBI00129068 -
                BP-HZN-MBI00129069
                BPD107-217469 -                          E-Mail - From: Morel, Brian P Sent: Tue Apr 20 14:31:49 2010 - Subject:
TREX-02584      BPD107-217470                 4/20/10    RE: Circulation                                                                 Barnhill
                BP-HZN-2179MDL02319416 -                 Letter to Naoki Ishii from Michael Beirne dated 3/29/10; Re: Second
TREX-02846      BP-HZN-2179MDL02319419                   Supplemental AFE #X2-000X8                                                      Barnhill
TREX-02879      DWHMX00108110                 1/27/10    BP Supplemental Authorization for Expenditure                                   Barnhill
                BPD106-000592 -
                BPD106-000608
                BP-HZN-BLY00061768 -
TREX-03036      BP-HZN-BLY00061784            5/4/10     Tabler Tally Book - From Tabler Interview 5/4/10                                Barnhill
                BP-HZN-BLY00061514 -
TREX-03188      BP-HZN-BLY00061517            4/28/10    Bob Kaluza Interview (marked "Confidential")                                    Barnhill
                BP-HZN-2179MDL00321874 -                 E-mail from Patrick L. O'Bryan to Mike Zanghi; Date: April 27, 2010;
TREX-03190      BP-HZN-2179MDL00321875                   Subject: RE: Bladder effect                                                     Barnhill



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Trial Ex. No.             Bates No.            Date                                  Subject/Description                                Expert/Report
                BP-HZN-2179MDL00015194 -                 E-mail from Leo Lindner to Robert Kaluza; Subject: Macondo Displacement
TREX-03196      BP-HZN-2179MDL00015195        4/20/10    Procedure (marked "Confidential")                                                 Barnhill
TREX-03203                                               Cathleenia Willis Interview Notes                                                 Barnhill
                BP-HZN-BLY00140873 -                     Gulf of Mexico SPU Technical Memorandum Post-Well Subsurface
TREX-03375      BP-HZN-BLY00140910                       Description of Macondo well (MS 252)                                              Barnhill
                BP-HZN-OSC00005378 -
TREX-03532      BP-HZN-OSC00005418            7/26/10    Gulf of Mexico SPU; Technical Memorandum                                          Barnhill
                                                         E-mail string, most recent e-mail from Galina Skripnikova to Robert Bodek,
                                                         et al., dated Tue Apr 13 16:57:04 2010; Subject: RE: Top hydrocarbon
TREX-03538      BP-HZN-MBI00126430            4/13/10    bearing zone?                                                                     Barnhill
TREX-03540                                    4/10/10    Triple Combo Log                                                                  Barnhill
TREX-03541                                    4/11/10    Laminate Sand Analysis                                                            Barnhill
                                                         Email from Ronald Sepulvado to John Guide Dated April 25, 2010; Subject:
TREX-03565      BP-HZN-BLY00072942            4/25/10    Negative Test, marked as Confidential                                             Barnhill
                TRN-HCJ-00121085 -                       Interview of Robert Kaluza, Well Site Leader, April 23, 2010, marked as
TREX-03572      TRN-HCJ-00121096              4/23/10    Confidential                                                                      Barnhill
                BP-HZN-BLY00045995 -                     Notes from Interview of Robert Kaluza by Keith Daigle (marked
TREX-03576      BP-HZN-BLY00045999            4/25/10    "Confidential")                                                                   Barnhill
                                                         E-mail from Mr. Bennett to Mr. Albertin, et al., dated April; 05 10:18:37
TREX-03720      BP-HZN-2179MDL00009604        4/5/10     2010; Subject: Macondo Update 5am                                                 Barnhill
                                                         E-mail from Mr. Sant to Mr. Albertin, dated April 05 19:41:46 2010; Subject:
TREX-03722      BP-HZN-2179MDL00025983        4/5/10     RE: Macondo Sand pressures                                                        Barnhill
                BP-HZN-2179MDL00426906                   E-mail string, most recent e-mail from Mr. Albertin to Mr. Johnston, et al.,
TREX-03741      and attachment                4/22/10    dated April 22 02:54:30 2010, Subject: RE: PPFG for Macondo                       Barnhill
                                                         Macondo Well Incident Transocean Investigation Report, Volume 1, June
TREX-03808                                    6/23/11    2011                                                                              Barnhill
                BP-HZN-BLY00235651 -
TREX-04006      BP-HZN-BLY00235660                       Application for Revised Bypass                                                    Barnhill
                BP-HZN-SNR00000441 -
TREX-04030      BP-HZN-SNR00000450            4/14/10    Application for Revised Bypass                                                    Barnhill
                BP-HZN-OGR000748 -
TREX-04044      BP-HZN-OGR000756              4/15/10    Application for Revised Bypass                                                    Barnhill
                BP-HZN-OGR000735 -
TREX-04045      BP-HZN-OGR000747              4/15/10    Application for Revised Bypass                                                    Barnhill




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                                                  Calvin Barnhill Reliance Exhibits
 Trial Ex. No.             Bates No.              Date                                      Subject/Description                              Expert/Report
                                                                April 9, 10, 12, 14, 2010 E-mail String from David Sims to Kemper Howe
                 BP-HZN-MBI 00126666 -                          and from Jayne Gates to David C Sims and others Subject: Nile and
 TREX-04223      BP-HZN-MBI 00126669             4/14/10        Kaskida 180 day clock, marked as Confidential                                   Barnhill
 TREX-04278                                 1/31/10 - 4/18/10   Deepwater Horizon IADC Reports                                                  Barnhill
                                                                Macondo Well Incident, Transocean Investigation Report, Volume II
 TREX-04304                                     6/23/11         (Appendix)                                                                      Barnhill
                 BP-HZN-BLY00144208 -
 TREX-04447      BP-HZN-BLY00144214              7/8/10         BP Incident Investigation Team - Notes of Interview with Mark Hafle             Barnhill
                 BP-HZN-CEC020266 -
 TREX-04506      BPHZN-CEC020275                5/10/10         Brian Morel Interview                                                           Barnhill
                 BP-HZN-2179MDL00687582 -
 TREX-04507      BP-HZN-2179MDL00687484          3/4/10         E-mail From Jade Morel to Brian Morel                                           Barnhill
                 BP-HZN-2179MDL03072952 -
 TREX-04538      BP-HZN-2179MDL03072954         4/15/10         BP Drilling & Completions MOC Initiate                                          Barnhill
                 TRN-MDL-02070932 -
 TREX-04645      TRN-MDL-02071196                               Deepwater Horizon Emergency Response Manual, Volume 2 of 2                      Barnhill
                 BP-HZN-CEC008683 -
 TREX-04751      BP-HZN-CEC0008711              5/13/09         Application for Permit to Drill a New Well                                      Barnhill
                 BP-HZN-2179MDL00001748 -
 TREX-04752      BP-HZN-2179MDL00001763         3/25/10         Application for Revised Bypass                                                  Barnhill

 TREX-04776                                 4/1/10 - 4/15/10    BP Macondo MC 252 #1 Daily Geological Report, (marked "Confidential")           Barnhill
                                                                BP Incident Investigation Team -- Notes of Interview with John Guide, July
 TREX-07085                                      7/1/10         1, 2010 at BP Westlake 1 at 10:30am CDT; 11 pages                               Barnhill
                                                                Expert Report of Calvin Barnhill - Macondo Engineering, Operations and
 TREX-50000                                     9/23/11         Well Control Response                                                           Barnhill
                                                                Attachment A to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.01                                   9/23/11         Operations and Well Control Response                                            Barnhill
                                                                Attachment B to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.02                                   9/23/11         Operations and Well Control Response                                            Barnhill
                                                                Attachment C to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.03                                   9/23/11         Operations and Well Control Response                                            Barnhill
                                                                Attachment D Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.04                                   9/23/11         Operations and Well Control Response                                            Barnhill
TREX-50000.05                                   9/23/11         Curriculum Vitae - Calvin Barnhill                                              Barnhill
TREX-50000.06                                   9/23/11         Fee Schedule - Calvin Barnhill                                                  Barnhill



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                                                  Calvin Barnhill Reliance Exhibits
 Trial Ex. No.              Bates No.             Date                                 Subject/Description                            Expert/Report
TREX-50000.07                                    9/23/11    Materials Considered - Calvin Barnhill                                       Barnhill
TREX-50000.08                                    9/23/11    Prior Testimony - Calvin Barnhill                                            Barnhill
                 TRN-INV-00734940 -
 TREX-50004      TRN-INV-00735223                           Marianas IADC Reports                                                        Barnhill
                 TRN-INV-00128817 -
 TREX-50005      TRN-INV-00771652                           Deepwater Horizon Morning Reports                                            Barnhill
                 M-I 00000003;
                 M-I 00000011 - M-I 00000091;
                 M-I 00001797;
                 M-I 00006194 - M-I 00006297;
                 M-I 00008196 - M-I 00008224;
                 M-I 00008466 - M-I 00008469;
                 BP-HZN-2179MDL00756127;                    MI-Swaco Synthetic-Based Mud Reports; Associated Bates Ranges for 3/1 -
 TREX-50006      BP-HZN-2179MDL00785999                     4/19                                                                         Barnhill
 TREX-50007      BP-HZN-2179MDL02423083          1/31/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50008      BP-HZN-2179MDL01958188           2/1/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50009      BP-HZN-2179MDL01263022           2/2/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50010      BP-HZN-2179MDL01263012           2/3/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50011      BP-HZN-2179MDL01285576           2/4/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50012      BP-HZN-2179MDL01262990           2/7/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50013      BP-HZN-2179MDL01262985           2/8/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50014      BP-HZN-2179MDL01969331           2/9/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50015      BP-HZN-2179MDL02703407          2/10/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50016      BP-HZN-2179MDL01899895          2/11/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50017      BP-HZN-2179MDL02459652          2/12/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50018      BP-HZN-2179MDL01938374          2/13/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50019      BP-HZN-2179MDL02669642          2/14/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50020      BP-HZN-2179MDL02539254          2/15/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50021      BP-HZN-2179MDL02467657          2/16/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50022      BP-HZN-2179MDL02042863          2/17/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50023      BP-HZN-2179MDL02527614          2/18/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50024      BP-HZN-2179MDL03062970          2/19/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50025      BP-HZN-2179MDL00006317          2/20/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50026      BP-HZN-2179MDL00006262          2/21/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50027      BP-HZN-2179MDL02116145          2/22/10    BP Daily Drilling Report                                                     Barnhill
 TREX-50028      BP-HZN-2179MDL03775185          2/23/10    BP Daily Drilling Report                                                     Barnhill



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Trial Ex. No.             Bates No.             Date                                Subject/Description   Expert/Report
TREX-50029      BP-HZN-2179MDL03772688        2/24/10    BP Daily Drilling Report                            Barnhill
TREX-50030      BP-HZN-2179MDL03772792        2/25/10    BP Daily Drilling Report                            Barnhill
TREX-50031      BP-HZN-2179MDL03772385        2/26/10    BP Daily Drilling Report                            Barnhill
TREX-50032      BP-HZN-2179MDL03774634        2/27/10    BP Daily Drilling Report                            Barnhill
TREX-50033      BP-HZN-2179MDL00001908        2/28/10    BP Daily Drilling Report                            Barnhill
TREX-50034      BP-HZN-2179MDL00007499         3/1/10    BP Daily Drilling Report                            Barnhill
TREX-50035      BP-HZN-2179MDL03773555         3/2/10    BP Daily Drilling Report                            Barnhill
TREX-50036      BP-HZN-2179MDL02912103         3/3/10    BP Daily Drilling Report                            Barnhill
TREX-50037      BP-HZN-2179MDL03774080         3/4/10    BP Daily Drilling Report                            Barnhill
TREX-50038      BP-HZN-2179MDL03772623         3/5/10    BP Daily Drilling Report                            Barnhill
TREX-50039      BP-HZN-2179MDL03773306         3/6/10    BP Daily Drilling Report                            Barnhill
TREX-50040      BP-HZN-2179MDL03774758         3/7/10    BP Daily Drilling Report                            Barnhill
TREX-50041      BP-HZN-2179MDL02636019         3/8/10    BP Daily Drilling Report                            Barnhill
TREX-50042      BP-HZN-2179MDL00032054         3/9/10    BP Daily Drilling Report                            Barnhill
TREX-50043      BP-HZN-2179MDL03774558        3/10/10    BP Daily Drilling Report                            Barnhill
TREX-50044      BP-HZN-2179MDL03772704        3/11/10    BP Daily Drilling Report                            Barnhill
TREX-50045      BP-HZN-2179MDL03773330        3/12/10    BP Daily Drilling Report                            Barnhill
TREX-50046      BP-HZN-2179MDL00005599        3/13/10    BP Daily Drilling Report                            Barnhill
TREX-50047      BP-HZN-2179MDL03773181        3/14/10    BP Daily Drilling Report                            Barnhill
TREX-50048      BP-HZN-2179MDL03774773        3/15/10    BP Daily Drilling Report                            Barnhill
TREX-50049      BP-HZN-2179MDL03775291        3/16/10    BP Daily Drilling Report                            Barnhill
TREX-50050      BP-HZN-2179MDL03775142        3/17/10    BP Daily Drilling Report                            Barnhill
TREX-50051      BP-HZN-2179MDL00014477        3/18/10    BP Daily Drilling Report                            Barnhill
TREX-50052      BP-HZN-2179MDL00002849        3/19/10    BP Daily Drilling Report                            Barnhill
TREX-50053      BP-HZN-2179MDL00003212        3/20/10    BP Daily Drilling Report                            Barnhill
TREX-50054      BP-HZN-2179MDL00024721        3/21/10    BP Daily Drilling Report                            Barnhill
TREX-50055      BP-HZN-2179MDL00004855        3/22/10    BP Daily Drilling Report                            Barnhill
TREX-50056      BP-HZN-2179MDL01285686        3/23/10    BP Daily Drilling Report                            Barnhill
TREX-50057      BP-HZN-2179MDL00016515        3/24/10    BP Daily Drilling Report                            Barnhill
TREX-50058      BP-HZN-2179MDL00003061        3/25/10    BP Daily Drilling Report                            Barnhill
TREX-50059      BP-HZN-2179MDL00001999        3/26/10    BP Daily Drilling Report                            Barnhill
TREX-50060      BP-HZN-2179MDL00002703        3/27/10    BP Daily Drilling Report                            Barnhill
TREX-50061      BP-HZN-2179MDL00004326        3/28/10    BP Daily Drilling Report                            Barnhill
TREX-50062      BP-HZN-2179MDL00005388        3/29/10    BP Daily Drilling Report                            Barnhill
TREX-50063      BP-HZN-2179MDL00002855        3/30/10    BP Daily Drilling Report                            Barnhill
TREX-50064      BP-HZN-2179MDL00020996        3/31/10    BP Daily Drilling Report                            Barnhill



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Trial Ex. No.             Bates No.             Date                                  Subject/Description   Expert/Report
TREX-50065      BP-HZN-2179MDL00021053         4/1/10      BP Daily Drilling Report                            Barnhill
TREX-50066      BP-HZN-2179MDL00010446         4/2/10      BP Daily Drilling Report                            Barnhill
TREX-50067      BP-HZN-2179MDL00011493         4/3/10      BP Daily Drilling Report                            Barnhill
TREX-50068      BP-HZN-2179MDL00003449         4/4/10      BP Daily Drilling Report                            Barnhill
TREX-50069      BP-HZN-2179MDL00007479         4/5/10      BP Daily Drilling Report                            Barnhill
TREX-50070      BP-HZN-2179MDL00004095         4/6/10      BP Daily Drilling Report                            Barnhill
TREX-50071      BP-HZN-2179MDL03772344         4/7/10      BP Daily Drilling Report                            Barnhill
TREX-50072      BP-HZN-2179MDL02055260         4/8/10      BP Daily Drilling Report                            Barnhill
TREX-50073      BP-HZN-2179MDL01287507         4/9/10      BP Daily Drilling Report                            Barnhill
TREX-50074      BP-HZN-2179MDL01287513        4/10/10      BP Daily Drilling Report                            Barnhill
TREX-50075      BP-HZN-2179MDL00001788        4/11/10      BP Daily Drilling Report                            Barnhill
TREX-50076      BP-HZN-2179MDL00015911        4/12/10      BP Daily Drilling Report                            Barnhill
TREX-50077      BP-HZN-2179MDL03490019        4/13/10      BP Daily Drilling Report                            Barnhill
TREX-50078      BP-HZN-2179MDL00002674        4/14/10      BP Daily Drilling Report                            Barnhill
TREX-50079      BP-HZN-2179MDL00003614        4/15/10      BP Daily Drilling Report                            Barnhill
TREX-50080      BP-HZN-2179MDL00003541        4/16/10      BP Daily Drilling Report                            Barnhill
TREX-50081      BP-HZN-2179MDL00005433        4/17/10      BP Daily Drilling Report                            Barnhill
TREX-50082      BP-HZN-2179MDL03426590        4/18/10      BP Daily Drilling Report                            Barnhill
TREX-50083      BP-HZN-2179MDL00004012        4/19/10      BP Daily Drilling Report                            Barnhill
TREX-50084      BP-HZN-2179MDL00058851         4/4/10      DWH PPFG Report                                     Barnhill
                BP-HZN-BLY00038424 -
TREX-50085      BP-HZN-BLY00038461                         Project Spacer                                      Barnhill
                BP-HZN-2179MDL00062905 -
TREX-50086      BP-HZN-2179MDL00062912        1/12/10      Application for Revised New Well                    Barnhill
                BP-HZN-2179MDL00001449 -
TREX-50087      BP-HZN-2179MDL00001456        1/25/10      Application for Revised New Well                    Barnhill
                BP-HZN-2179MDL00001333 -
TREX-50088      BP-HZN-2179MDL00001336        3/10/10      Application for Permit to Modify                    Barnhill
                BP-HZN-2179MDL00526317 -
TREX-50089      BP-HZN-2179MDL00526317        4/16/10      Application for Permit to Modify                    Barnhill
                BP-HZN-FIN00000501-
TREX-50090      BP-HZN-FIN00000542         February 2009   Initial Exploration Plan: Macondo 252               Barnhill
                TRN-MDL-01534954 -
TREX-50091      TRN-MDL-01535172           February 2009   September 2009 Drilling Program                     Barnhill
                BP-HZN-2179MDL01313651 -
TREX-50092      BP-HZN-2179MDL01313766     January 2010    January 2010 Drilling Program                       Barnhill



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Trial Ex. No.             Bates No.            Date                                 Subject/Description                              Expert/Report
                BP-HZN-2179MDL00857580 -                 8.5 x 9.875” Open Hole Mud Loss Event Summary by Lebleu to Hafle,
TREX-50093      BP-HZN-2179MDL00857583        5/13/10    Morel, Cocales, Guide, Walz and Sims                                           Barnhill
TREX-50094                                               Power Point Presentation: Long String v. Liner                                 Barnhill
                                                         Power Point Presentation; Interim Incident Investigation Power Point
TREX-50095                                    5/24/10    presented to the Presidential Commission                                       Barnhill
TREX-50096                                               Intentionally left blank                                                       Barnhill
TREX-50097                                               Intentionally left blank                                                       Barnhill
                BP-HZN-CEC009003 -                       GoM Exploration Wells MC 252 #1 - Macondo Prospect 9-7/8" Casing
TREX-50098      BP-HZN-CEC009019              1/27/10    Interval; TA Procedure Rev. 0 from Morel, et al.                               Barnhill
                                                         GoM Exploration Wells MC 252 #1 - Macondo Prospect 9-7/8" Casing
TREX-50099      BP-HZN-MBI00126181            4/12/10    Interval; TA Procedure Rev. 1 from B. Morel                                    Barnhill
                BP-HZN-CEC022025 -                       PowerPoint Presentation for MC 252 #1 Titled: TD Forward Plan Review:
TREX-50100      BP-HZN-CEC022038                         Production Casing & TA Options                                                 Barnhill
TREX-50101      BP-HZN-MBI00192560            4/14/10    BP Supplemental Authorization for Expenditure                                  Barnhill
                BP-HZN-MBI00143255 -
TREX-50102      BP-HZN-MBI00143257             4/7/10    BP Drilling & Completions MOC Initiate                                         Barnhill
TREX-50103      BP-HZN-2179MDL00286880        3/14/10    Cocales E-mail to Morel and Hafle re: FIT or LOT for Bypass                    Barnhill
                BP-HZN-MBI00059411 -
TREX-50104      BP-HZN-MBI00059412            3/24/09    Sims E-mail to Peijs and Hafle re: Macondo production liner cost               Barnhill
                BP-HZN-CEC021880 -
TREX-50105      BP-HZN-CEC021883              3/25/10    E-mail from Morel to A. Crane (BP) Re: Long String Cost Savings                Barnhill
TREX-50106                                    3/29/10    Morel Reply E-mail to Gagliano Re: Cementing Liner Proposal                    Barnhill
                                                         Cocales Reply E-mail to Morel's 2:08 pm E-mail Re: Cementing Liner
TREX-50107                                    3/29/10    Proposal, cc: Gagliano, Guide, Hafle                                           Barnhill
                BP-HZN-CEC021948 -
TREX-50108      BP-HZN-CEC021949              3/30/10    Email from Morel to S. Dobbs (BP Engineer) re: Long String Choice              Barnhill
TREX-50109                                               Intentionally left blank                                                       Barnhill
                BP-HZN-2179MDL00007611 -                 R. Sant E-mail to B. Morel and M. Albertin and Bodek, Bellow, et. al. re:
TREX-50110      BP-HZN-2179MDL00007614        4/5/10     Macondo Sand Pressures                                                         Barnhill
                BP-HZN-2179MDL01313256 -
TREX-50111      BP-HZN-2179MDL01313257        4/19/10    Hafle E-mail to Krauss (Baker Hughes) and Morel Re: GT Plug Standby            Barnhill
TREX-50112                                    4/20/10    Chaisson email to Gagliano re: cementing job and Post Job Report               Barnhill
TREX-50113                                               Intentionally left blank                                                       Barnhill

TREX-50114      BP-HZN-MBI00195376            4/20/10    Morel E-mail to Guide, Hafle, Cocales, Walz, and Sims Re: Cement Job           Barnhill




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Trial Ex. No.            Bates No.              Date                                  Subject/Description                              Expert/Report
                BP-HZN-MBI00021237 -                      Morel E-mail to Vidrine, Kaluza, Lambert, Lee, Guide, Hafle, Cocales, Walz
TREX-50115      BP-HZN-MBI00021282             4/20/10    Re: Ops Note for Coming Days and Negative Pressure Test                         Barnhill
TREX-50116                                                Intentionally left blank                                                        Barnhill
                                                          Morel email to Walz, Cocales, Hafle, Guide re: Negative test and mud
TREX-50117      BP-HZN-MBI00127490             4/15/10    displacement                                                                    Barnhill
TREX-50118                                                Intentionally left blank                                                        Barnhill
                BP-HZN-MBI00114524 -
TREX-50119      BP-HZN-MBI00114526             3/24/10    I. Little and J. Guide E-mails Re: TO DWH Performance Feedback                  Barnhill

TREX-50120      TRN-USCG_MMS-00044376          4/2/10     J. Guide E-mail to P. Johnson and Others Re: DWH 1 Yr. Recordable Free          Barnhill
                BP-HZN-2179MDL00014441 -                  Sims E-mail to Kemper Howe, Frazelle, Rich, Sprague, O'Bryan, Guide,
TREX-50121      BP-HZN-2179MDL00014447          4/9/10    Walz, et al. Re: Nile and Kaskida 180 Day Clock                                 Barnhill
TREX-50122      BP-HZN-CEC021857               4/14/10    E-mail Reply from Miller to Morel and Hafle Re: Macondo APB                     Barnhill
                BP-HZN-2179MDL00452491 -
TREX-50123      BP-HZN-2179MDL00452492         4/30/10    J. Lobule E-mail to Morel, Hafle, Walz, et al Re: Background LCM                Barnhill
                BP-HZN-BLY00111079 -                      Reply from Walz to More, Hafle, Cocales, and Guide re: problems w/
TREX-50124      BP-HZN-BLY00111080             4/18/10    Gagliano and cement testing                                                     Barnhill
                BP-HZN-BLY00069231 -
TREX-50125      BP-HZN-BLY00069234             4/16/10    Morel E-mail to S Dobbs (BP Completions), Walz, et al Re: LS                    Barnhill
                BP-HZN-SNR00019270 -                      Walz Reply E-mail to Morel (from 18:19), Cocales, Hafle Re: Cement
TREX-50126      BP-HZN-SNR00019272             4/16/10    Procedure                                                                       Barnhill
TREX-50127                                                DWH Specifications Sheets Provided on Transocean’s Website                      Barnhill
TREX-50128                                                Rig Schematics Obtained from Various Investigation Reports                      Barnhill
TREX-50129                                     8/24/07    IADC Well Control Accreditation Program - Program Number W726                   Barnhill
TREX-50130                                                Certificate of Accreditation: Transocean Houston Training Center                Barnhill

TREX-50131                                                Approved Instructor Certificates for Transocean Houston Training Center         Barnhill
TREX-50132                                                Training Certificates: Jimmy Harrell                                            Barnhill
TREX-50133                                                Training Certificates: Miles "Randy" Ezell                                      Barnhill
TREX-50134                                                Training Certificates: Jason Anderson                                           Barnhill
TREX-50135                                                Training Certificates: Dewey Revette                                            Barnhill
TREX-50136                                                Training Certificates: Donald Clark                                             Barnhill
TREX-50137                                                Training Certificates: Stephen Curtis                                           Barnhill
                HAL_0010592 -
TREX-50138      HAL_0010611                    4/15/10    Macondo # 1 9 7/8 x 7 Production Casing Design Report - For: Brian Morel        Barnhill




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                BP-HZN-CEC011444 -
TREX-50139      BP-HZN-CEC011445               4/17/10    9 7/8 x 7 Production Casing Proposal                 Barnhill
                BP-HZN-CEC008381 -
TREX-50140      BP-HZN-CEC008382               4/18/10    9 7/8 x 7 Production Casing Proposal                 Barnhill
                BP-HZN-MBI00010586 -
TREX-50141      BP-HZN-MBI00010693             9/28/09    Drilling Fluids Proposal Prepared by Blake Redd      Barnhill
TREX-50142                                                Weatherford Float Collar Schematic                   Barnhill
                SLBEC000001 -
TREX-50143      SLBEC0000005                              Schlumberger Timeline                                Barnhill




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